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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                  :
   TROY CLOWDUS                                   :
                                                  :      CIVIL ACTION
                  Plaintiff,                      :      DOCKET NO.: 1:21cv23155
          v.                                      :
                                                  :
   AMERICAN AIRLINES, INC.                        :
                                                  :
                  Defendant.                      :
                                                  :

      DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

          NOW COMES Defendant, AMERICAN AIRLINES, INC., (hereinafter, “AA” or

   “Defendant”), by and through undersigned counsel and files this Rule 12(b)(6) Motion to Dismiss

   (“Motion”) the Amended Complaint (DE 40) filed by Plaintiff, TROY CLOWDUS, (“Clowdus”

   or “Plaintiff”), and in support thereof states as follows:

                                       I.      INTRODUCTION

          1.      Following Plaintiff’s abandonment and/or this Court’s dismissal of his other

   claims, Clowdus’ sole remaining claim is one for defamation per se. However, even this claim

   must be dismissed because none of the statements at issue are capable of being defamatory per se

   since they are not factual, but rather opinions and beliefs, which cannot be proven true or false

   without resort to context, extrinsic facts, innuendo, or inferences. Second, Clowdus’ publication

   allegations are still fatally defective since: (a) Clowdus relies on the “strong inference of

   publication” argument this Court explicitly rejected in its dismissal order (DE 32, p. 8); (b) his

   allegations confirm that the internal recipients of the alleged defamatory statements fall within the

   ambit of qualified privilege; and (c) his conclusory malice allegations are legally insufficient to

   overcome the qualified privilege his Amended Complaint anticipates.
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                                     II.     LEGAL STANDARD

          2.      Pursuant to Fed. R. Civ. P. 12(b)(6), a court may dismiss an action that fails to state

   a claim to relief that is plausible on its face. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

   (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Under this plausibility

   standard, the factual allegations in complaint “must be enough to raise a right to relief above the

   speculative level” such that the “factual content allows the court to draw a reasonable inference

   [without reading additional facts into the Complaint] that the defendant is liable for the misconduct

   alleged.” Iqbal, 556 U.S. at 678. See also, Chang v. JPMorgan Chase Bank, N.A., 845 F.3d 1087,

   1094 (11th Cir. 2017)(quoting Twombly, 550 U.S. at 555). It is not enough that the allegations

   simply allow the court to infer the possibility of defendant’s liability or that the allegations

   are merely consistent with defendant’s liability. Iqbal, 556 U.S. at 678.

          3.      Although all factual allegations contained in the Amended Complaint are assumed

   to be true, this tenet is “inapplicable to legal conclusions.” Iqbal, 556 U.S. at 678. Thus, a

   complaint “that offers ‘labels and conclusions’ or ‘a formulaic recitation of the elements of

   a cause of action will not do,’ ... [n]or does a complaint suffice if it tenders ‘naked assertion[s]’

   devoid of ‘further factual enhancement.’”        Id (quoting Twombly, 550 U.S. at 555, 557).

   “Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

   do not suffice.” Iqbal, 556 U.S. at 678

                          III.   PLAINTIFF’S AMENDED COMPLAINT

          4.      Distilled to its essence, Plaintiff’s Amended Complaint asserts a single claim for

   defamation per se premised on three statements by flight attendant Merino (“Merino”) one of

   which AA is alleged to have “adopted” internally. Merino is alleged to have exclaimed “you hit




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   me” 1 immediately after Clowdus’ bag hit him and later to have said “I don’t know why people

   have to behave like that.” 2 The Amended Complaint is intentionally vague as to which if any

   passengers heard either statement. In addition, Merino is alleged to have reported to AA that he

   was the victim of a “deliberate assault” by Clowdus. 3 AA is alleged to have internally repeated

   Merino’s assault claim during the course of AA’s investigation of that claim. 4

                                          IV.    ARGUMENT
            A.       Plaintiff’s Claim Fails as a Matter of Law Because It is Premised on Opinion
                                       and Not a False Statement of Fact

            5.       All four statements made the basis of Plaintiff’s defamation per se claim are

   premised on an opinion as to Clowdus’ intent - not a “false statement of fact” which is the “sine

   qua non for recovery in a defamation action.” Hallmark Builders, Inc. v. Gaylord Broad, Co., 733

   F.2d 1461, 1464 (11th Cir. 1984). Specifically, the material facts underlying Plaintiff’s defamation

   per se claim are undisputed - Clowdus admits his bag under his control struck Merino. 5 The only

   thing in dispute – and the crux of Clowdus’ claim - is whether the impact was intentional or

   accidental. Clowdus argues that he did not “intend” to “make contact [with Merino] in an

   offensive manner.” 6 Merino (Clowdus alleges) had a different opinion based on the same

   undisputed facts - that the contact was intentional. 7 In this manner, Clowdus frames his purported

   defamation claim, not on false statement of fact (the facts are undisputed), but on each party’s

   subjective opinions of the facts—i.e. whether the strike was intentional. Indeed, Plaintiff’s



   1 (DE 40), ¶¶ 19-22.
   2 (DE 40), ¶79.
   3 (DE 40), ¶¶ 49, 64- 66, 68, 83.
   4 (DE 40), ¶¶ 83, 89-90.
   5 (DE 40), ¶¶ 17-18, 43-44.
   6 (DE 40), ¶¶ 17-21, 43-44.
   7 (DE 40), ¶¶ 18-22, 43-44.

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   Amended Complaint explicitly concedes his claim is about the parties’ differing beliefs as to

   whether Clowdus intended to hit Merino with his bag. 8

           6.       A statement is potentially defamatory only if the “statement is objectively verifiable

   as true or false” and/or “subject to empirical proof.” Turner v. Wells, 198 F. Supp. 3d 1355, 1369

   (S.D. Fla. 2016)(the “critical question” is whether the statement is objectively verifiable). A

   statement (including a statement of opinion) which is not objectively verifiable, cannot be

   defamatory. Hoon v. Pate Const. Co., Inc., 607 So. 2d 423, 429 (Fla. 4th DCA 1992)(“[O]pinions

   cannot be defamatory.”). See also Turner v. Wells, 879 F.3d 1254, 1263 (11th Cir. 2018) (opinions

   are “protected from defamation actions”). Thus, since statements about “an individual’s morality

   or immorality are not subject to empirical proof,” they are non-actionable statements of opinion.

   Keller v. Miami Herald Pub. Co., 778 F.2d 711, 718 (11th Cir. 1985). More to the point,

   statements concerning another’s state mind, or statements about another’s intent, are not

   objectively verifiable and are therefore considered opinions—not fact. Turner, 198 F. Supp. 3d at

   1369-70 (“an individual’s state of mind at a particular point in time ‘is not subject to empirical

   proof’”). Whether a statement is fact or opinion is a question of law for the court. Keller v.

   Miami Herald Pub. Co., 778 F.2d 711, 715 (11th Cir. 1985).

           7.       In Turner v. Wells, this Court dismissed an NFL coach’s defamation claims

   premised on accusations made about him in a publicized workplace investigation. 198 F. Supp.

   3d at 1355. At-issue were the investigators’ comments/conclusions that the coach had given a

   player a male blow-up doll as a “homophobic taunt.” Id. at 1367-70. Notably, the coach did not

   dispute the fact that he gave the player the blow-up doll; rather, he claimed it was intended as an




   8 DE 40), ¶¶ 43-44 – “no reasonable person would believe that Clowdus had intended his bag to make contact [with
   Merino, or] characterize the…contact… as an assault.”

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   innocent (and not harassment) “gift” and thus took issue with the investigator’s belief/conclusion

   that the gift was intended as “homophobic taunting” of the player. He sued, claiming the

   investigator’s conclusion was “necessarily a false statement of fact.” Id. This Court, and the

   Eleventh Circuit on appeal, disagreed.

             8.     The Court held, and the Eleventh affirmed, that the investigators’ conclusion about

   the coach’s state of mind (i.e. his intent) was a “subjective assessment of [the coach’s] conduct

   and [was] not readily capable of being proven true or false.” Turner, 879 F. 3d at 1264. The notion

   (as argued by the coach) that he, or a different investigator, could reach a different conclusion if

   given the same facts, bolstered the Court’s finding that the statement was opinion, not fact. Turner,

   198 F. Supp. 3d at 1370 (“Turner’s allegation that he intended the male blow-up doll as a ‘gift’ for

   Player 1 rather than a ‘taunt’ is not capable of being proven true or false, because an individual’s

   state of mind at a particular point in time ‘is not subject to empirical proof.”) (emphasis

   added).

             9.     Likewise, Clowdus frames his pleadings, not on some challenged falsity of fact, but

   rather on his disagreement with the opinions/conclusions that Merino (and AA) are alleged to have

   reached regarding his intent. Clowdus asserts that he did not intend to strike Merino in an offensive

   manner, and alleges that Merino (and AA) should have reached the same conclusion. 9 Notably,

   like the coach in Turner, Clowdus does not accuse Merino of propagating false facts; Clowdus

   just does not like Merino’s beliefs and opinion as to Clowdus’ intent. 10 This is not the “stuff” of

   a defamation claim. Rasmussen v. Collier Cnty. Publ’g Co., 946 So. 2d 567, 571 (Fla. 2d DCA

   2006) (commentary or opinion on facts is not “the stuff” of defamation). Like the coach in Turner,




   9 (DE 40), ¶¶ 43-44.
   10 (DE 40), ¶¶ 43-44, 67-68, 81, 82, 89.

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   Clowdus’ disagreement with Merino’s (or AA’s) opinion as to his intent is not the stuff of

   actionable defamation. Turner, 198 F. Supp. at 1367.

           10.      Thus, Clowdus’ defamation claim must fail as a matter of law. Nevertheless, in the

   event that this Court deems Plaintiff to have alleged some falsity of fact, and not opinion, (which

   is not apparent on the face of the pleadings), Plaintiff’s defamation per se claim is still deficient,

   for a host of other reasons.

                       B. The Allegations Surrounding the Statement “You Hit Me”
                                 Fail to Establish a Defamation Per Se Claim

           11.      To construct his per se defamation claim, Plaintiff relies heavily on Merino’s

   alleged “You hit me” statement to Clowdus aboard the aircraft. 11 This statement is insufficient to

   give rise to a defamation per se claim because, within its “four corners,” it lacks (1) sufficient

   falsity of fact; (2) sufficient elements to rise to defamation per se; and (3) sufficient allegations of

   publication.

                       1. The “You hit me” statement lacks sufficient falsity of facts

           12.      First, the statement “You hit me” lacks the requisite falsity to constitute defamation

   per se. As discussed above, the material fact of Merino being “hit” is not in dispute. Clowdus

   admits, in numerous paragraphs, that he hit Merino with his bag. The statement, “You hit me”

   therefore lacks sufficient falsity to constitute a claim of defamation per se because it is literally

   true. Cape Publ’n, Inc. v. Reakes, 840 So. 2d 277, 279-80 (Fla. 5th DCA 2003) (“Stated

   differently, if the statements are true, the required element of a false statement is not

   present.”). Falsity exists only if the statement is “substantially and materially false, not just if it

   is technically false.” Turner, 198 F. Supp. 3d at 1365. Due to this lack of falsity, Clowdus cannot




   11 (DE 40), ¶¶ 19-22.

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   establish a claim for common law defamation, let alone defamation per se by relying on this

   statement.

                                      2. “You hit me” is not defamatory per se

            13.      Second, “You hit me” is not actionable as a defamatory statement since, on its face,

   it falls below the high threshold that statements must meet to be defamatory per se. Florida law

   makes a profound distinction between claims of common law defamation and the more rigorous

   defamation per se. Common law defamation claimants may call upon a statement’s context to

   “demonstrate [its] defamatory meaning or that the plaintiff is the subject of the statement.” Afalo

   v. Weiner, 2018 WL 3235529, *1 (S.D. Fla. 2018) (internal citations omitted). Defamation per se

   claims, however, are only actionable if the precise words spoken are actionable on their face,

   leaving nothing to inference. Paulson v. Cosm. Dermatology, Inc., No. 17-cv-20094, 2017 WL

   2484197, *3 (S.D. Fla. June 8, 2017) (injurious nature of the statement must be “apparent from

   the words in the statement itself”). The analysis is limited to the “four corners” of the specific

   statement alleged, without consideration of context, extrinsic facts, innuendo, or inferences. Id. at

   *4; see also Scobie v. Taylor, 2013 WL 3776270, *4 (S.D. Fla. 2013) (“In a per se action,

   consideration is given only to the ‘four corners’ of the publication and the language used should

   be interpreted as the ‘common mind’ would normally understand it.”)

            14.      Clowdus’ underlying/plead theory is that the “you hit me” statement falsely accused

   him of a felony. 12 To establish a claim for per se defamation under this theory, he must plead a

   specific statement that, on its “four corners” and without relying on any context, extrinsic facts,

   inferences, or innuendo, imputes a specific felony to his specifically identified person. Klayman

   v. Judicial Watch, 22 F. Supp. 3d. 1240, 1247-48 (S.D. Fla. 2014) (“. . .whether the underlying



   12 See, e.g. (DE 40), ¶¶ 51, 64, 67.

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   facts actually support a felony offense is not relevant”—in order to qualify as defamatory per se,

   the statement must specifically “accuse a person of a felony.”) If extrinsic facts are needed to

   support the felonious nature of the offense, the statement does not qualify as defamation per se.

   Id.; see also Bellemead, LLC v. Stoker, 280 Ga. 635, 639, 631 S.E.2d 693 (2006) (“Should extrinsic

   facts be necessary to establish the defamatory character of the words, the words may constitute

   slander, but they do not constitute slander per se . . . the negative inference a hearer might take

   from the words does not subject the speaker for liability for slander per se.”)(emphasis added).

          15.     This Court has held defamation per se pleadings traveling under this theory to a

   rigorous standard, most notably in Aflalo.. 2018 WL 3235529 at 3. The plaintiff in Aflalo

   complained that the statement that he“[took] advantage of a old 94plus sick man elder abuse [sic]”

   amounted to defamation per se as it accused him of the serious crime of elder abuse. Id. at *1.

   However, the Court held even that statement fell below the threshold for per se defamation

   because, while implying a felony crime, the “four corners” did not include an identification of the

   felonious conduct nor the specific felony crime committed for the benefit of the “common mind”:

           “Accordingly, the common mind must read the “four corners” of the Statement—
          “[Plaintiff] took advantage of a old 94plus sick man elder abuse”—and understand
          it to mean that not only was Defendant accusing Plaintiff of some form of
          physical or psychological injury or neglect of an elderly person, but that he was
          specifically referring to [] Florida laws [prohibiting elder abuse, as referenced
          in the pleading].” Id. at *3.

          16.     Merino’s alleged “You hit me” statement, while much less provocative than an

   accusation of “elder abuse,” nonetheless suffers from the same deficiency identified in Aflalo. It

   does not “on its face” and within its “four corners” impute a specific “criminal offense amounting

   to a felony.” Klayman, 22 F. Supp. 3d at 1247-48. Nowhere within the “four corners” of “You

   hit me” does Merino reference a crime, let alone a specific felony crime as would be understood

   by a “common” third-party listener. To even approach this standard, Clowdus would need to


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   greatly supplement this alleged statement with extrinsic facts, context, and inferences which he is

   prohibited from doing in connection with his defamation per se action. “You hit me” is, thus, not

   actionable for this reason, as well.

                              3. Publication of “You hit me” is inadequately plead

            17.      Despite being granted leave to adequately plead publication, Plaintiff’s Amended

   Complaint still fails to do so. “It is essential to a cause of action for defamation that the alleged

   slanderous . . . statement be made or published to some third person.” Mennella v. Am. Airlines,

   Inc., No. 17-21915-CIV, 2019 WL 1429636, at *3 (S.D. Fla. Mar. 29, 2019), aff’d, 824 F. App’x

   696 (11th Cir. 2020); American Airlines, Inc. v. Geddes, 960 So. 2d 830, 833 (Fla. Dist. Ct. App.

   2007) (“A defamatory statement does not become actionable . . . until it is published . . . to a third

   person”). An inference, even a strong inference, of publication is insufficient to state a claim for

   defamation per se. Id. (“To meet the standard for publication to a third party, a plaintiff “must

   allege the identity of the particular person to whom the remarks were made with a reasonable

   degree of certainty[.]”). The Amended Complaint fails to adequately allege the publication of

   this statement to any passenger or to the only AA-affiliated individual identified, Ground Security

   Coordinator (“GSC”) Jose Henriquez (“Henriquez”).

            18.      First, with regard to passengers, Clowdus again attempts to travel under a theory of

   “publication by inference” that this Court decidedly struck down in Plaintiff’s Original

   Complaint. 13 Ignoring this ruling, Clowdus again asks the Court to “infer” that “at least some of

   the passengers in business class overhead the allegedly defamatory “you hit me” statement.”14

   However, since Clowdus has once again failed to identify any specific passenger who heard this


   13 See Order on Defendant’s Motion to Dismiss (DE 32) at 8 (“A strong inference of publication is insufficient to
   state a claim for defamation per se.”)
   14 (DE 40), ¶ 80. It should be noted that no witnesses deposed by Plaintiff has testified to hearing any “shout.”

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   specific statement, 15 his allegations (again) fail to satisfy the “reasonable degree of certainty”

   standard used by this Court for adequacy of publication. 16 Mennella, 2019 WL 1429636, at *4.

            19.        Second, as to the intra-corporate communication of the “You hit me” statement,

   Merino’s purported publication of the statement to Henriquez is also insufficient to survive a

   motion to dismiss. 17 As this Court has previously noted, when “the entity alleged to have

   committed the defamation is a corporation,” intra-corporate communication made to executive and

   managerial employees is not publication, but rather the corporation speaking to itself. 18 Clowdus

   provides no factual support for his conclusory allegation that the statement was published to non-

   managerial employee Henriquez. 19 Indeed, Clowdus has plead detailed facts demonstrating just

   the opposite as discussed immediately below.

            20.        Specifically, Clowdus alleges that: (1) AA rules “dictate” that a GSC (like

   Hernandez) “interview the targeted passenger…to determine whether the appropriate action is to

   remove the passenger from the flight;” 20 (2) “Henriquez had the authority to decide whether to

   rebook Clowdus… based upon his evaluation of the incidence of removal;” 21 and that (3) he would



   15 Plaintiff states in conclusory fashion that Merino “published” this statement to “every passenger” in business class.
   See (DE 40), ¶ 76. As discussed above, this conclusory statement provides no reasonable particularity as to any
   passenger who actually heard this statement. Plaintiff has likely plead in this manner because no passenger’s
   testimony has supported this theory, and no passenger has testified that they heard this alleged statement.
   16 Plaintiff makes a cursory, and ambiguous, reference to a “defamatory accusation” discussed in the “deposition of
   passenger seated in 3A.” (DE 40), ¶ 79. Plaintiff’s odd decision to forego stating the specific statement alluded to
   here (and subject it to per se analysis), is likely best explained because the referenced passenger testified to nothing
   of the sort. Please see the excerpt of the referenced deposition at Exhibit A. Deposition of Passenger 3A, 15:5-8
   (Question “[D]id you at any point ever hear the flight attendant say, ‘You hit me’?” Passenger 3A “I don’t
   recall that.”). As Plaintiff has referenced this deposition, and it is undisputed/central to the claims for which it was
   referenced, its incorporation herein shall not convert the instant motion to a motion for summary judgment. Horsely
   v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002).
   17 (DE 40), ¶¶ 31-32.
   18 Geddes, 960 So. 2d at 833.
   19 (DE 40), ¶ 75.
   20 (DE 40), ¶¶ 34, 57.
   21 (DE 40), ¶ 38.

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   provide a “valuable perspective” on the removal since he is authorized to “mediate” such situations

   between passengers and crew members. 22 Thus, Clowdus’ factually naked conclusory allegation

   that Henriquez is a “non-managerial” employee (which this Court is not bound to accept as true is

   belied by his more factually specific allegations to the contrary – allegations which this Court must

   accept as true. Iqbal, 556 U.S. at 678. Accordingly, Clowdus’ allegations are insufficient (yet

   again) to allege publication to Henriquez.

            21.        Moreover, and most importantly, these same allegations confirm the applicability

   of the qualified privilege to Merino’s “You hit me’ statement to Henriquez and the propriety of

   dismissal of Clowdus’ claims related to that statement. 23 Specifically, the Amended Complaint

   confirms (in factual detail) Henriquez had authority to interview passengers slated for removal,

   mediate crew/passenger disputes particularly those involving passenger removal, and determine

   whether to re-book a removed passenger depending on his “evaluation of the incidence [sic] of

   removal.” 24 These factually detailed allegations (which this Court must accept as true) confirm

   that Merino’s “You hit me” statement to Henriquez was the type of statement Henriquez was

   required to act on and thus the applicability of the qualified privilege to that statement. See, Thomas

   v. Tampa Bay Downs, Inc., 761 So. 2d 401, 404 (Fla. 2d DCA 2000) (an employee’s conduct is

   “immune from an action for defamation if it is the type of conduct that the employee is hired to



   22 (DE 40), ¶ 57.
   23 Since Clowdus’ Amended Complaint anticipates (DE 40 ¶¶ 85, 86, 90) AA’s assertion of the qualified privilege
   defense, this Court may evaluate whether that defense bars Clowdus’ recovery as a matter of law. See Quiller v.
   Barclays American/Credit, Inc., 727 F.2d 1067, 1069 (11th Cir. 1984) (A complaint may be dismissed under Rule
   12(b)(6), without turning the motion to dismiss into a motion for summary judgment, when the complaint’s “own
   allegations indicate the existence of an affirmative defense[.]”); Nodar v. Galbreath, 462 So. 2d 803, 810 (Fla. 1984)
   (a court may dismiss a defamation claim where the four corners of the complaint show that the affirmative defense of
   qualified privilege bars the plaintiff’s ability to recover); Jarzynka v. St. Thomas University of Law, 310 F. Supp. 2d
   1256, 1267 (S.D. Fla. 2004) (granting defendant’s motion to dismiss as to the defamation claim based on qualified
   privilege). Notably, the existence of a qualified privilege is a question of law for this Court to decide. Thomas, 761
   So. 2d at 404.
   24 (DE 40), ¶¶ 34, 38, 57.

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   perform . . . and the conduct is activated at least in part by the employee’s purpose to serve his or

   her employer.”). Clowdus’ defamation per se claim related to Merino’s “You hit me” statement

   to Henriquez must, therefore, be dismissed.

           C. The Allegations Surrounding the Statement “I don’t know why people have to
                      behave like that” Fail to Establish a Defamation Per Se Claim

           22.      Merino’s “I don’t know why people have to act like that” comment falls gravely

   short of defamation per se. (DE 40), ¶ 79. The statement is not factual, and thus cannot be

   objectively proven to be true or false. 25 The statement does not accuse Clowdus of a felony within

   its four corners and without innuendo, inference or reference to extrinsic facts or context. 26 Thus,

   Clowdus’ defamation per se claim related to this statement must be dismissed.

       D. The Allegations Surrounding Merino’s CERS Report and AA’s Internal IRL Fail to
                               Establish a Defamation Per Se Claim
                                                   .
          23.   Clowdus’ effort to plead a viable defamation per se claim based on Merino’s

   Corporate Event Reporting System (“CERS”) report and AA’s “adoption” of that CERS report in

   AA’s Internal Refuse List (“IRL”) 27 fares no better. Clowdus does not allege any publication of

   these items to any specifically identified person outside of AA whatsoever. He therefore concedes

   that these items were restricted to the intra-corporate realm. 28

           24.      Pleading intra-corporate defamation in federal court is no easy task. This Court

   demands more than mere communications to corporate executives and/or managerial

   employees to establish a prima facie case. Lopez v. Ingram Micro, Inc., 1997 WL 401585, *6

   (S.D. Fla. March 18, 1997) (“communications by [defendant corporation’s] agents, i.e. the



   25 See discussion supra at ¶¶ 6-10.
   26 See discussion supra at ¶¶ 13-16.
   27 (DE 40), ¶¶ 81-83, 89-90.
   28 (DE 40), ¶¶ 81-83.

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   investigators, to [] management personnel do not satisfy the ‘publication’ element”).                              The

   Supreme Court, for its part, has held that a defamation claim cannot spring from a corporation’s

   internally stored documentation/data, even if the data is defamatory and even if there is a risk of

   dissemination to a third-party in the future. TransUnion, LLC v. Ramirez, 141 S. Ct. 2190, 2210

   (2021):

             “The mere presence of an inaccuracy in an internal [] file, if it is not disclosed to a
             third party, causes no concrete harm. In cases such as these where allegedly
             inaccurate or misleading information 29 sits in a company database, the
             plaintiffs’ harm is roughly the same, legally speaking, as if someone wrote a
             defamatory letter and then stored it in her desk drawer. A letter that is not
             sent does not harm anyone, no matter how insulting the letter is.”

             25.     Indeed, federal court precedent regarding intra-corporate defamation claims

   presents a high hurdle for Clowdus—a customer complaining about a communication made

   entirely within AA’s own four walls. The allegations surrounding the CERS report and the IRL

   fail to clear this hurdle. They are either irrelevant or insufficient for defamation per se, and, on

   their face, they fail to establish any communication exempted from qualified privilege.

                          1. The deficient allegations pertaining to the CERS report

             26.     As to the CERS report, Clowdus alleges that Merino “published his [unspecified]

   defamatory accusation” to only two identified recipients, Corporate Security investigators

   Aristides Maldonado (“Maldonado”) and, “upon information and belief” Chris Reddig

   (“Reddig”). 30 As an initial matter, this Court has consistently held that conclusory allegations



   29 In TransUnion, the alleged defamatory material inaccurately accused multiple customers of a connection to
   “terrorists, drug traffickers, and other serious criminals.” 141 S.Ct. at 2197.
   30 (DE 40), ¶¶ 81-82. Plaintiff makes a reference to an unspecified “false allegation” made to flight attendant Deon
   Gray wherein Merino allegedly “asked [Gray] to corroborate his account.”(DE 40), ¶ 74. Plaintiff, however, once
   again fails to allege what Merino actually said to Gray, if it was true or capable of being objectively shown to be true
   or false, or if it was defamatory per se - likely because Gray testified to nothing of the sort. Regardless, Plaintiff’s
   allegations as to Gray are nothing more than “labels and conclusions” that fail to raise his claim above “a speculative
   level.” Twombly, 550 U.S. at 1959.

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   “made upon information and belief” fail to “meet the Twombly standard.” Scott v. Experian

   Information Solutions, Inc., 2018 WL 3360754, *6 (S.D. Fla. 2018) (dismissing an amended

   complaint “replete with conclusory allegations, made upon ‘information and belief’”). 31 The

   purported publication to Reddig, on “information and belief” and without any factual support,

   should therefore be disregarded as well. However, even assuming publication of some statement

   to Reddig, Clowdus fails to allege what exactly what was stated in the CERS report allegedly

   shown to Maldonado/Reddig, which once again prevents any analysis of the whether the statement

   is factual or can be objectively proven to be true or false, 32 or whether the statement accuses

   Clowdus of a felony within its four corners and without innuendo, inference or reference to

   extrinsic facts or context. 33 These allegations do not even allow this Court to “infer the possibility

   of AA’s liability…[without reading additional facts into the Complaint], and thus they fail “to raise

   Plaintiff’s right to relief above the speculative level.” Iqbal, 556 U.S. at 678. This aspect of

   Clowdus’ claim must, therefore, be dismissed.

            27.      Moreover, Clowdus provides no factual support for his legal conclusion 34 that

   Reddig and/or Maldonado’s are “non-managerial” employees of AA. As discussed above, 35 this

   Court is not bound to accept (and indeed cannot accept) as true Clowdus’ factually naked legal

   conclusion that Reddig and Maldonado are “non-managerial” employees. As such, Clowdus has



   31 For this reason, the Court should disregard Plaintiff’s conclusory allegation that an (unspecified) “defamatory
   statement” was “published” to “every non-managerial ticketing agent, customer service agent, and gate agent
   companywide through American Airlines’ internal computer system.” (DE ¶ 83). Not only is this conclusory
   statement insufficiently plead on “information and belief”, it further suffers from the deficiencies stressed in Mennella
   (third-party must be identified with “reasonable particularity”) and TransUnion (internal storage of data does not give
   rise to a defamation claim). See Mennella, 2019 WL 1429636, *4; TransUnion, 141 S. Ct. at 2210.
   32 See discussion supra at ¶¶ 6-10.
   33 See discussion supra at ¶¶ 13-16.
   34 (DE 40), ¶¶ 81-82.
   35 See discussion supra at ¶¶ 3 & 20.

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   failed to allege that the statements (whatever they are) contained in Merino’s CERS report would

   be considered anything but the corporation speaking to itself. Geddes, 960 So. 2d at 833

   (communication with managers is not publication but rather the corporation speaking to itself).

            28.      Finally, Clowdus’ own allegations demonstrate that the statements contained in

   Merino’s CERS report are entitled to qualified privilege. Clowdus admits that CERS reports are

   used by investigators to analyze interactions between passengers and crew. 36 He further admits

   that Maldonado and Reddig were “corporate security” investigators tasked with this responsibility

   when they received and acted on the CERS report. 37 Thus, Clowdus’ own detailed factual

   allegations (which this Court must accept as true) confirm that Merino’s CERS report was the type

   of statement Reddig and Maldonado were required to act on and thus that the communication of

   the CERS report to them falls squarely within qualified privilege. See, Thomas, 761 So. 2d at 404

   (an employee’s conduct is “immune from an action for defamation if it is the type of conduct that

   the employee is hired to perform . . . and the conduct is activated at least in part by the employee’s

   purpose to serve his or her employer.”). 38 See also Jarzynka, 310 F. Supp. 2d at 1267 (“Dr. Soifer’s

   comments were made as part of an investigation into accusations against the Plaintiff. The Court[]

   finds that the remarks made by Dr. Soifer were privileged as a matter of law.”). Thus, Clowdus’

   defamation claim related to the alleged publication of the undisclosed statements in the CERS

   report must be dismissed.

                                2. The deficient allegations pertaining to the IRL

            29.      As to the IRL, stepping back, it seems preposterous that a corporate airline’s

   internal IRL (essentially its flight restriction list) could be the “stuff” of a defamation claim,


   36 (DE 40), ¶¶ 54-55.
   37 (DE 40), ¶¶ 81-82.
   38 See discussion supra at ¶ 21.

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   especially as Plaintiff alleges no publication of the internally-stored IRL to any individual, inside

   or outside AA. TransUnion, 141 S.Ct. at 2210 (no defamation from internally stored documents); 39

   see also Granda-Centeno v. Lara, 489 So. 2d 142, 143 (Fla. 3d DCA 1986) (a plaintiff most show

   that an alleged defamatory document was “actually received and read”—the allegation that

   “defamatory writing was sent is insufficient[.]”).

            30.      As for Clowdus’ allegations surrounding the IRL, they are obviously fatally

   deficient because they are premised on nothing other than AA’s alleged “adoption” of Merino’s

   (non-actionable) “defamatory statements.” Specifically, Clowdus alleges “[AA] ratified Merino’s

   defamatory statements” when it determined “passenger Clowdus physically assaulted FA1 Carlos

   Merino…” 40 However, as argued above, Merino’s alleged “defamatory statements” are not

   actionable as defamation per se and, contrary to Clowdus’ allegations, AA’s purported “adoption”

   of Merino’s beliefs and opinion (regarding Clowdus’ intent) does not transform those otherwise

   non-actionable beliefs and opinions to actionable factual defamation per se. Turner, 879 F.3d at

   n. 3 (“adopting and publishing another’s opinion does not, by itself, make that opinion false.”).

            31.      Third, and finally, the lone paragraph referring to the IRL (paragraph 89) displays

   one of the many deficiencies pervading Plaintiff’s Amended Complaint — there is no hint as to

   what specific statement was actually made in the IRL, to whom it was made, or how it was

   defamatory per se. To characterize these allegations as “labels” 41 would be an overstatement.

   Because this Court is literally left to guess as to whether anything in the IRL was defamatory per




   39 As with prior conclusory statements, the Court should disregard Plaintiff’s “information and belief” that “any
   ticketing agent, gate agent, or customer service agent” could access “Mr. Clowdus’ record. (DE 40), ¶ 90. See Scott,
   2018 WL 3360754, *6 (“information and belief” insufficient); Mennella, 2019 WL 1429636, *4 (recipient must be
   identified with reasonable particularity).
   40 (DE 40), ¶ 89. (AA “ratified Merino’s defamatory statements . . . stating as fact . . .”).
   41 Iqbal, 556 U.S. at 678 (a complaint “that offers ‘labels and conclusions’ …will not do”).

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   se, these allegations fall far short of the satisfying the Iqbal plausibility standard and must be

   dismissed. Iqbal, 556 U.S. at 678 (the factual allegations in complaint “must be enough to raise a

   right to relief above the speculative level”).

        E. The Allegations Suggesting Malice and an Incomplete Investigation Are Insufficient
                      to Overcome the Deficiencies of the Defamation Per Se Claim

            32.      Clowdus alleges Merino behaved with “malice” towards Clowdus and that AA

   conducted an incomplete investigation (resulting in Clowdus’ AA flight ban) into Merino’s

   complaint. 42 Ostensibly, these allegations are intended to pierce the qualified privilege 43 attaching

   to the communications made the basis of his defamation per se claims. 44 These allegations are

   irrelevant to the basis of this Motion since (as discussed above) the statements made the basis

   Clowdus’ defamation per se claim are simply not defamatory per se. Nevertheless, in an

   abundance of caution, Defendant addresses the deficiencies immediately below.

         1. Plaintiff has not adequately plead malice nor rebutted the good faith presumption.

            33.      Clowdus alleges that Merino made an (unspecified) “defamatory statement” with

   “common law express malice because the primary motive of his making the false and defamatory

   statement was an intention to injure Mr. Clowdus” and “to gratify [Merino’s] malevolence.” 45 As

   an initial matter, these allegation do not identify what statement was made with malice and thus

   they are facially insufficient to properly allege malice or pierce qualified privilege. Iqbal, 556




   42 (DE 40), ¶¶ 42, 46, 56-57, 72, 85, 90.
   43 (DE 40), ¶¶ 85-86.
   44 Plaintiff also attempts to construct an allegation of publication to an “unnecessarily wide audience” for this purpose.
   (DE 40), ¶ 90. However, Plaintiff again fails to identify the specifics of the “accusation” made and the identity of the
   members of this “wide audience” other than by “information and belief.” On the face of his own pleadings, Plaintiff’s
   “unnecessarily wide audience” theory dies on the vine. Mennella, 2019 WL 1429636, *4 (third-party must be
   identified with reasonable particularity); TransUnion, 141 S. Ct. at 2210 (no standing when defamation claim is based
   solely on the risk of future access to internally stored documents).
   45 (DE 40), ¶¶ 72-73.

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   U.S. at 678 (the factual allegations in complaint “must be enough to raise a right to relief above

   the speculative level”).

            34.      Second, the conclusory malice allegations contain no non-conclusory factual

   support whatsoever, such as why Merino was motivated by an intent to injure Clowdus, what

   malevolence Merino held for Clowdus or why, or any other fact or circumstance supporting such

   a conclusory allegation. Instead, Clowdus has simply alleged a “threadbare recital” of the Florida

   definition of malice – i.e., conduct primarily “motivated by . . . a desire to harm the person

   defamed[.]” Nodar, 462 So. 2d 803, 811 (Fla. 1984). The malice allegation is (literally) the type

   of “unadorned” conclusory allegation which is insufficient to meet the Twombly plausibility

   standard, and its deficiency is especially glaring given the high standard a plaintiff must meet to

   demonstrate express malice. 46 Id. (express malice requires a showing of more than a defamer’s

   “[s]trong, angry, or intemperate words,” “hostility or ill will toward the plaintiff,” or “personal

   feelings of indignation[.]”) (internal citations omitted).

            35.      Third, allegations surrounding malice must rebut the presumption of good faith that

   cloaks qualifiedly privileged communications. Thomas, 761 So. 2d at 404 (statements made with

   qualified privilege are “cloaked with a legal presumption of good faith”); Nodar, 462 So. 2d at 810

   (a “presumption of good faith” attaches to statements made with qualified privilege, which

   eliminates any presumption of malice and “places upon the plaintiff the burden” of rebutting this

   good faith presumption). Clowdus’ pleadings fail to provide this “heft” necessary to rebut this

   good faith presumption. Stephens, Inc., 500 F.3d at 1282. He provides no factual support, for

   example, for the conclusory allegations 47 that Merino controlled whether Clowdus was removed



   46 See discussion supra at ¶¶ 2-3.
   47 (DE 40) ¶¶ 25, 37 – “Henriquez attempted to convince Merino to allow Mr. Clowdus to remain on the flight.”

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   from the aircraft, 48 or whether Merino controlled Clowdus’ placement on AA’s no-fly list.49

   Whether singularly or collectively, Clowdus’ malice allegations are facially insufficient to

   properly allege malice or overcome qualified privilege. Iqbal, 556 U.S. at 678 (“labels and

   conclusions [or] formulaic recitations of the elements of a cause of action will not do ... [n]or does

   a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’”

   (quoting Twombly, 550 U.S. at 555, 557).

          2. Plaintiff’s incomplete investigation theory is irrelevant to the defamation per se
                             claim and insufficient to pierce qualified privilege.

            36.      Clowdus suggests that AA’s investigators should have reviewed Henriquez’ CERS

   report, Clowdus’ customer complaints and other materials, and provided Clowdus with an

   “avenue” for appeal, before placing him on AA’s no-fly list. 50 Plaintiff’s dissatisfaction with the

   extent of AA’s investigation is irrelevant to the basis of this motion, not only because the

   statements made the basis Clowdus’ defamation per se claim are simply not defamatory per se (as

   discussed above), but also because the investigation is relevant only to the no-fly determination

   which AA has a constitutional right to make regardless of the accuracy of any underlying

   investigation. Lugassy v Lugassy, 298 So.3d 657, 659 (Fla. 4th DCA 2020) (“we have held that the

   freedom of contract entails the freedom not to contract” except as restricted by antitrust,

   antidiscrimination and other statutes).




   48 As successfully argued in AA’s Motion for Judgment on the Pleadings (DE 17, at p. 6, ¶12), the federal permissive
   removal statute confers sole authority for passenger removal on the flight captain, not a flight attendant.
   49 Clowdus’ allegations confirm just the opposite – that the no fly determination was made by other AA personnel,
   not Merino. (DE 40), ¶¶ 42, 46, 54-57, 89, 91.
   50 (DE 40), ¶¶ 46, 53, 54, 57, 90.

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                                          V.      CONCLUSION

          For the reasons argued above, AA respectfully requests that this Honorable Court grant

   Defendant’s Motion to Dismiss Plaintiff’s Amended Complaint in its entirety with prejudice, enter

   judgment against Plaintiff and award AA its taxable costs and expenses against Plaintiff.


   Respectfully Submitted,
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this the 2nd day of June 2022, a true and correct copy of
   the above and foregoing has been filed with the Clerk of Court using the CM/ECF system. I
   FURTHER CERTIFY that the foregoing document is being served this date, either via
   transmission of Notices of Electronic Filing generated by CM/ECF or in some other authorized
   manner of those counsel or parties who are not authorized to receive electronically Notices of
   Electronic filing on the counsel of record or pro se parties identified on the attached Service List.

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